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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON


GINA COTE,                                                                        3:15-CV-00103-SI
        Plaintiff,

vs.
                                                                                             ORDER
CAROLYN COLVIN,
Commissioner of Social Security,
          Defendant.

       Based upon the stipulation of the parties, it is hereby ORDERED that attorney fees in the

amount of $2816.14 shall be awarded to Plaintiff pursuant to the Equal Access to Justice Act, 28

U.S.C. § 2412. The parties agree that attorney fees will be paid to Plaintiff’s attorney, dependent

upon verification that Plaintiff has no debt which qualifies for offset against the awarded fees,

pursuant to the Treasury Offset Program as discussed in Astrue v. Ratliff, 130 S.Ct. 2521 (2010).

       If Plaintiff has no such debt, then the check shall be made out to Plaintiff’s attorney and

mailed to Plaintiff’s attorney’s office as follows: Merrill Schneider, P.O. Box 14490, Portland,

OR 97293. If Plaintiff has a debt, then the check for any remaining funds after offset of the debt

shall be made to Plaintiff and mailed to Plaintiff's attorney's office at the address stated above.

                   16th day of ___________________,
       DATED this _____         February            2016.


                                                        /s/ Michael H. Simon
                                                       _______________________________
                                                       Michael Simon
                                                       United States District Court Judge
